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Attorneys for Plaintiff

Morgan Creek Productions, Inc.

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIF ORNIA; WESTERN DIVISION

MORGAN CREEK PRODUCTIONS, CASE NO. :

INC., a California corporation, CORPORATE DISCLOSURE STATEMENT
_ OF PLAINTIFF MORGAN CREFK
Plaintiff, PRODUCTIONS, INC. (FED. R. CIV. P. 1.7

- AND LOCAL RULE 7.1-1)

GOODE FILMS, LLC, a New York
limited liability company, and NETFLIX,
INC., a Delaware company,

Defendants.

 

 

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CORPORATE DISCLOSURE STATEMENT

 
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Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 7.1-1, the undersigned

counsel for Plaintiff, Morgan Creek Productions, Inc., (hereinafter known as “MCP”), certifies

more of its stock,

CES OF DAVID BERKE

   

and states as follows: MCP has no parent corporation, and no publicly helf company owns 10% or

 

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organ reek Productions, Inc.
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CORPORATE DISCLOSURE STATEMENT

 

 
